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                             No. 23-10228


           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT


            SECURITIES AND EXCHANGE COMMISSION,
                        Plaintiff-Appellee,

                                  and

                RYAN K. STUMPHAUZER, RECEIVER,
                  Court-Appointed Receiver-Appellee,

                                   v.

             LISA MCELHONE and JOSEPH W. LAFORTE,
                      Defendants-Appellants,

       COMPLETE BUSINESS SOLUTIONS GROUP, INC., et. al.,
                    d/b/a PAR FUNDING,
                          Defendants.


                Appeal from the U.S. District Court for the
                       Southern District of Florida
                         Hon. Rodolfo A. Ruiz II
                          9:20-cv-81205-RAR
__________________________________________________________________

           BRIEF OF THE SECURITIES AND EXCHANGE
               COMMISSION, PLAINTIFF-APPELLEE
__________________________________________________________________
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             SECURITIES AND EXCHANGE COMMISSION’S
               CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Eleventh Circuit Rule 26.1-1, undersigned counsel for appellee

Securities and Exchange Commission submits the following list of all persons and

entities known to the Securities and Exchange Commission to have an interest in

the outcome of this appeal:

      1)    Alfano, Gaetan J., counsel for court-appointed receiver;

      2)    Augustini, Hope Hall, counsel for appellee Securities and Exchange
            Commission;

      3)    Barbero, Megan, counsel for appellee Securities and Exchange
            Commission;

      4)    Berlin, Amie, counsel for appellee Securities and Exchange
            Commission;

      5)    Bradylyons, Morgan, counsel for appellee Securities and Exchange
            Commission;

      6)    Conley, Michael A., counsel for appellee Securities and Exchange
            Commission;

      7)    Ferguson, David, counsel for appellant Joseph LaForte;

      8)    Fields, Alexis, counsel for appellant Joseph LaForte;

      9)    Froccaro, Jr. James, former counsel for appellant Joseph LaForte;

      10)   Futerfas, Alan S., Pro Hac Vice counsel for appellant Lisa McElhone;

      11)   Haimovitch, Seth D., counsel for appellant Joseph LaForte;

      12)   Hardin, Tracey A., counsel for appellee Securities and Exchange
            Commission;


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    13)   Healey, Martin F., counsel for appellee Securities and Exchange
          Commission;

    14)   Johnson, Alise Meredith, counsel for appellee Securities and
          Exchange Commission;

    15)   Kaplan, James M., counsel for appellants Lisa McElhone and the
          L.M.E. 2017 Family Trust;

    16)   Kaplan Zeena LLP, counsel for appellants Lisa McElhone and
          the L.M.E. 2017 Family Trust;

    17)   Kelley, Shannon, paralegal specialist for appellee Securities and
          Exchange Commission;

    18)   Kolaya, Timothy A., counsel for court-appointed receiver;

    19)   Kopelowitz Ostrow Ferguson Weiselberg Gilbert, counsel for appellant
          Joseph LaForte;

    20)   LaForte, Joseph, appellant;

    21)   Law Offices of Alan S. Futerfas, Pro Hac Vice counsel for appellant
          Lisa McElhone;

    22)   Levenson, Robert Kent, counsel for appellee Securities and Exchange
          Commission;

    23)   L.M.E. 2017 Family Trust, appellant;

    24)   McElhone, Lisa, appellant;

    25)   Pietragallo Gordon Alfano Bosick & Raspanti, LLP, counsel for
          court-appointed receiver;

    26)   Reinhart, Bruce, United States Magistrate Judge, Southern District of
          Florida;

    27)   Ruiz II, Rodolfo A., United States District Court Judge, Southern
          District of Florida;

    28)   Salup-Schmidt, Linda, counsel for appellee Securities and Exchange

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              Commission;

        29)   Securities and Exchange Commission, appellee;

        30)   Snyder, Noah E., counsel for appellants Lisa McElhone and the
              L.M.E. 2017 Family Trust;

        31)   Stumphauzer Kolaya Nadler & Sloman, PLLC, counsel for court-
              appointed receiver;

        32)   Stumphauzer, Ryan K., court-appointed receiver for the receivership
              entities;1 and

        33)   Wagner, Brooke, counsel for appellee Securities and Exchange
              Commission.



1
 The receivership entities, which are not implicated on this appeal, include:
Complete Business Solutions Group, Inc. d/b/a Par Funding; Full Spectrum
Processing, Inc.; ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan;
ABFP Management Company, LLC f/k/a Pillar Life Settlement Management
Company, LLC; ABFP Income Fund, LLC; ABFP Income Fund 2, L.P.; ABFP
Income Fund 3, LLC; ABFP Income Fund 4, LLC; ABFP Income Fund 6, LLC;
ABFP Income Fund Parallel LLC; ABFP Income Fund 2 Parallel; ABFP Income
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Retirement Evolution Group, LLC; RE Income Fund LLC; RE Income Fund 2
LLC; ABFP Multi-Strategy Investment Fund LP; ABFP Multi-Strategy Investment
Fund 2 LP; MK Corporate Debt Investment Company LLC; 20 N. 3rd St. Ltd; 118
Olive PA LLC; 135-137 N. 3rd St. LLC; 205 B Arch St Management LLC; 242 S.
21st St. LLC; 300 Market St. LLC; 627-629 E. Girard LLC; 715 Sansom St. LLC;
803 S. 4th St. LLC; 861 N. 3rd St. LLC; 915-917 S. 11th LLC; 1223 N. 25th St.
LLC; 1250 N. 25th St. LLC; 1427 Melon St. LLC; 1530 Christian St. LLC; 1635
East Passyunk LLC; 1932 Spruce St. LLC; 4633 Walnut St. LLC; Beta Abigail,
LLC; Capital Source 2000, Inc.; Eagle Six Consultants, Inc.; Fast Advance
Funding LLC; Heritage Business Consulting, Inc.; Liberty Eighth Avenue LLC;
New Field Ventures, LLC; L.M.E. 2017 Family Trust; Blue Valley Holdings,
LLC; LWP North LLC; 500 Fairmount Avenue, LLC; Recruiting and Marketing
Resources, Inc.; Contract Financing Solutions, Inc.; Stone Harbor Processing LLC;
LM Property Management LLC; and ALB Management, Inc. See D. Ct. Dkt. Nos.
141, 238, 436, 484, 579, 1156.
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      In accordance with this Court’s Rule 26.1-3(b), the Securities and Exchange

Commission certifies that no publicly traded company or corporation has an

interest in the outcome of this appeal. This Certificate of Interested Persons does

not include all persons or entities who may be claimants in the receivership

proceeding.




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              STATEMENT REGARDING ORAL ARGUMENT

      The Commission does not believe oral argument is necessary, as the issues

are adequately presented by the briefs and the record below.




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                 COUNTERSTATEMENT OF JURISDICTION

      The district court had jurisdiction over this civil law enforcement action

brought by the Securities and Exchange Commission (“Commission” or “SEC”)

pursuant to Sections 20(b), 20(d), and 22(a) of the Securities Act of 1933

(“Securities Act”), 15 U.S.C. §§ 77t(b), 77t(d), and 77v(a); and Sections 21(d),

21(e), and 27 of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C.

§§ 78u(d), 78u(e), and 78aa. On July 27, 2020, the district court appointed as

receiver appellee Ryan K. Stumphauzer, D. Ct. Dkt. 36; AII at 175,2 and on

December 16, 2020, it entered an interlocutory order expanding the receivership,

D. Ct. Dkt. 436 (“Expansion Order”); AIV at 19. In November 2021, appellants

Lisa McElhone (“McElhone”) and Joseph W. LaForte (“LaForte”) consented to

entry of judgments on liability and imposition of a permanent injunction and other

relief. D. Ct. Dkt. 1002, 1003, 1008, 1010; AV at 168, 176. On November 22,

2022, the court entered a comprehensive decision imposing relief and a final

judgment as to McElhone and LaForte pursuant to Federal Rule of Civil Procedure

54(b). D. Ct. Dkt. 1450, 1451 (“Final Judgment”); AIX at 8, 58.3



2
  “D. Ct. Dkt. [ ]” refers to the district court docket entries. “A[ ]” refers to the
relevant volume of Appellants’ Appendix. “LaForte Br. [ ]” refers to LaForte’s
opening brief. “McElhone Br. [ ]” refers to McElhone’s opening brief.
3
 The court first issued a decision on October 25, 2022, which was subsequently
amended to correct a clerical error. See D. Ct. Dkt. 1432, 1449; AVIII at 160, 228.
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      This Court has jurisdiction pursuant to 28 U.S.C. § 1291 over McElhone and

LaForte’s timely appeal from the Final Judgment. See Dkt. 27. As detailed in the

Commission’s response to the Court’s jurisdictional question, this Court lacks

jurisdiction over their appeal from the Expansion Order. Dkt. 24.

             COUNTERSTATEMENT OF ISSUES PRESENTED

      1.     Whether appellants, who had access to relevant information and

opportunities to be heard, were afforded due process in connection with the

Expansion Order.

      2.     Whether the district court reasonably exercised its discretion in

ordering appellants to disgorge the net proceeds of Par Funding’s unregistered

securities offerings, as established by the receiver’s sworn declaration and a multi-

year expert analysis of Par Funding’s financial records.

      3.     Whether the district court reasonably exercised its discretion in

imposing third-tier penalties of $21.85 million against McElhone and LaForte in

light of their orchestration of an extensive fraudulent scheme and their egregious,

recurrent violations of the securities laws.

                          STATEMENT OF THE CASE

      A.     Nature of the Case

      In July 2020, the Commission brought this civil enforcement action alleging

violations of the securities laws by Complete Business Solutions Group, Inc.

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(“CBSG”) d/b/a Par Funding (“Par Funding”), a “merchant cash advance”

business, and several of its officers, employees, and agents, including individual

defendants and spouses McElhone and LaForte. D. Ct. Dkt. 1; AI at 190.4 CBSG

was founded by McElhone and LaForte in 2011 and solely owned by a family

trust—the L.M.E. 2017 Family Trust (the “Trust”)—whose trustees are McElhone

and LaForte. D. Ct. Dkt. 119 at 5; AIII at 13. The Commission alleged that the

defendants operated a scheme of unregistered, fraudulent securities offerings that

raised nearly half a billion dollars from over a thousand investors nationwide. D.

Ct. Dkt. 119 at 2; AIII at 10.

      On July 27, 2020, the district court granted the Commission’s motion for the

appointment of a receiver and appointed Ryan Stumphauzer as receiver over

certain corporate defendants. D. Ct. Dkt. 36, 141; AII at 175, AIII at 72. On

October 30, 2020, the receiver filed a motion to expand the receivership to include

additional entities and properties, including the Trust. D. Ct. Dkt. 357 (“Expansion

Motion”); AIII at 114. The district court granted that motion on December 16,

2020. D. Ct. Dkt. 436; AIV at 19. LaForte and McElhone appealed from the

Expansion Order at that time, but the appeal was dismissed for lack of jurisdiction.

See SEC v. Complete Bus. Sols. Grp., Inc., 44 F.4th 1326 (11th Cir. 2022).



4
 The Commission filed an Amended Complaint on August 10, 2020. D. Ct. Dkt.
119; AIII at 8.
                                          3
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      Following discovery, McElhone and LaForte consented to judgment as to

liability, reserving for later determination the imposition of any monetary

remedies. D. Ct. Dkt. 1008, 1010; AV at 168, 176. The district court subsequently

issued an order finding McElhone and LaForte liable for disgorgement,

prejudgment interest, and civil penalties. D. Ct. Dkt. 1432; AVIII at 160. It later

entered an amended order and amended final judgment pursuant to Federal Rule of

Civil Procedure 54(b), ordering McElhone and LaForte to pay a total of

$196,924,738.24—$142,529,980 in disgorgement, $10,694,758.24 in prejudgment

interest, and $21,850,000 each in civil penalties—to the receiver. D. Ct. Dkt.

1450, 1451; AIX at 8, 58. The district court then administratively closed the case,

while retaining jurisdiction to enforce the judgments and oversee the receivership.

D. Ct. Dkt. 1453.5




5
  A grand jury has since returned a superseding indictment criminally charging
McElhone and LaForte in connection with their conduct at Par Funding. See
United States v. LaForte, 2:23-cr-198 (E.D. Pa. May 18, 2023), Dkt. 3. McElhone
is charged with several conspiracy and tax crimes, and LaForte is charged with 56
felony counts, including conspiracy to commit securities and wire fraud, securities
fraud, wire fraud, extortionate collection of credit, tax crimes, perjury, and
obstruction. The charged conduct includes LaForte’s use of threats of violence
against Par Funding’s merchant-customers, as well as aiding and abetting the
assault of a lawyer representing the receiver in this action. See also United States
v. LaForte, 2:23-cr-198 (E.D. Pa. June 2, 2023), Dkt. 30.

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      B.     Facts6

      McElhone and LaForte founded CBSG in 2011, shortly after LaForte was

released from prison on criminal charges.7 D. Ct. Dkt. 119 at 5; AIII at 13. From

August 2012 until the court’s entry of a temporary restraining order and asset

freeze in 2020, Par Funding operated a “merchant cash advance” business in which

it provided opportunistic short-term loans to small businesses. D. Ct. Dkt. 119 at

2, 14; AIII at 10, 22. McElhone was Par Funding’s President, CEO, and sole

employee.8 She was a signatory on Par Funding’s bank accounts and had ultimate

decision-making authority for Par Funding. D. Ct. Dkt. 119 at 5–6; AIII at 13–14.

LaForte also acted as a de facto CEO, conducting day-to-day operations. D. Ct.

Dkt. 119 at 7; AIII at 15.




6
  These facts are taken from the allegations in the Commission’s Amended
Complaint. D. Ct. Dkt. 119; AIII at 8. As provided in the parties’ consent
judgments, these allegations must be accepted as true for purposes of the
Commission’s motion for monetary remedies. D. Ct. Dkt. 1002, 1003.
7
  In 2006, LaForte was convicted of state charges in New York for grand larceny
and money laundering, and in 2007, he was sentenced to three to ten years in
prison and ordered to pay $14.1 million in restitution. In 2009, he pled guilty to
federal criminal charges in the District of New Jersey for conspiracy to operate an
illegal gambling business. D. Ct. Dkt. 119 at 7, 38; AIII at 15, 46.
8
 Par Funding was solely owned by the Trust and operated after 2017 by an entity
called Full Spectrum Processing, Inc., which was owned by McElhone. D. Ct.
Dkt. 119 at 5–6; AIII at 13–14.
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      To fund its merchant cash advances, Par Funding raised nearly half a billion

dollars from an estimated 1,200 investors nationwide in a series of unregistered

securities offerings. D. Ct. Dkt. 119 at 2; AIII at 10. From August 2012 until

approximately December 2017, Par Funding primarily issued promissory notes that

were offered to the investing public directly and through sales agents. Id. But in

January 2018, Par Funding learned that it was under investigation by the

Pennsylvania Department of Banking and Securities for violating state securities

laws through its use of unregistered agents. So Par Funding began using “Agent

Funds” created for the purpose of issuing their own notes to the public while

directing the proceeds back to Par Funding. Id. Investors, told they were investing

in Par Funding, in fact received promissory notes in an Agent Fund; the Agent

Fund then sent the funds to Par Funding in exchange for a Par Funding promissory

note, which offered a higher rate of return as compensation for the agent. Id.; D.

Ct. Dkt. 119 at 16–17; AIII at 24–25.

      The Par Funding notes purportedly generated returns through the interest

paid on the company’s small business loans. The profitability of the notes

therefore depended on Par Funding’s customers paying back their loans with

interest rather than defaulting. But the defendants and their sales agents

misrepresented, inter alia, the underwriting process undertaken by Par Funding

before issuing loans, the quality of Par Funding’s loan portfolio, and the success


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and profitability of the loan programs. D. Ct. Dkt. 119 at 29–36; AIII at 37–44.

They also failed to disclose that Par Funding had been sanctioned by state

regulators, concealed LaForte’s identity and criminal history, made false

statements in Par Funding’s Form D filed with the SEC, and commingled and

diverted investor funds to, among others, McElhone and the Trust. D. Ct. Dkt. 119

at 38–43; AIII at 46–51.

      C.     Proceedings Below

      The Commission brought this action in July 2020, alleging, inter alia, that

LaForte, McElhone, and others violated various provisions of the federal securities

laws and misused investor funds. D. Ct. Dkt. 119; AIII at 8. Shortly after, the

district court granted the Commission’s motion for the appointment of a receiver

over the corporate defendants, finding that a receivership was “necessary and

appropriate for the purposes of marshaling and preserving all assets . . . that: (a) are

attributable to funds derived from investors or clients of the Defendants; (b) are

held in constructive trust for the Defendants; and/or (c) may otherwise be

includable as assets of the estates of the Defendants . . . .” D. Ct. Dkt. 36, 141 at 1;

AII at 175, AIII at 73. The court also granted the Commission’s motion for a

temporary restraining order, imposed an asset freeze, and ordered a preliminary

injunction hearing, sworn accountings, and expedited discovery. D. Ct. Dkt. 14,

42; AII at 81, 180.

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       In connection with these motions and hearings, the Commission presented a

variety of evidence regarding defendants’ use of commingled investor funds. In

particular, the Commission filed several declarations by Melissa Davis—CPA at an

advisory firm retained by the Commission to analyze CBSG’s banking activity—

setting forth evidence of payments that included commingled investor funds to

entities related to LaForte and McElhone. See D. Ct. Dkt. 21-1, 89-1, 290-8. It

also produced a chart summarizing evidence concerning numerous properties

purchased with commingled investor funds (the “Summary Chart”) along with an

evidentiary declaration by Raymond Andjich (“Andjich Declaration”). D. Ct. Dkt.

177-51. And it made its entire investigative file, including bank records

demonstrating defendants’ use of commingled investor funds, available to all

parties.9

             1. The Expansion Order

       On October 30, 2020, the receiver filed the Expansion Motion.10 The

motion sought to expand the receivership to include the Trust, several companies

and real estate entities affiliated with defendants that received commingled funds,


9
  During a December 15, 2020 status conference, counsel for the Commission
reminded all parties that the Commission’s entire investigative file was available
upon request, without the need to serve a discovery request. D. Ct. Dkt. 445 at
106; AIV at 131.
10
  The scope of the receivership had also been addressed on several occasions prior
to the Expansion Motion. See, e.g., D. Ct. Dkt. 73, 84, 92.
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and certain properties purchased by McElhone with commingled funds. D. Ct.

Dkt. 357; AIII at 114. In support, it attached Davis’s declarations, the Summary

Chart and Andjich Declaration, another chart of property-related evidence, and

McElhone’s financial statements, among other documents. McElhone and LaForte

sought and obtained additional time to “review various documents and

multilayered transfers to assess the veracity of these allegations,” D. Ct. Dkt. 367

at 2, before submitting a joint opposition on November 18, 2020. In that filing,

they primarily argued that the commingled funds identified by the receiver should

not be disgorged and did not warrant expansion of the receivership. D. Ct. Dkt.

401; AIII at 198.

      Meanwhile, on December 13, 2020, the receiver filed a status report,

unrelated to the Expansion Motion. That filing included a declaration by Bradley

Sharp (“Sharp Declaration”), financial advisor to the receiver, which presented

“preliminary findings” with respect to defendants’ business operations and

“sources and uses of cash through 2019.” D. Ct. Dkt. 426, 426-1 ¶¶ 2, 5; AIII at

235, 241 ¶¶ 2, 5. Among other findings, Sharp concluded that CBSG “would not

have been able to continue to provide payments to investors, or to continue to

operate, without additional funds from investors.” D. Ct. Dkt. 426-1 ¶ 53; AIII at

259 ¶ 53.




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      On December 15, 2020, the district court held a status conference via Zoom,

during which the court heard from the parties regarding the status report,

Expansion Motion, and related discovery issues. D. Ct. Dkt. 445 at 97–100; AIV

at 122–25. After hearing from appellants’ counsel, including their request for oral

argument, the court noted that the issue of expanding the receivership had been the

subject of “very thorough briefing” and likely would not require additional

argument. D. Ct. Dkt. 445 at 101–02; AIV at 126–27 (explaining that there should

be no “lack of due process argument” in light of the “fulsome” briefing and the

court’s ongoing dialogue with the parties, though the court would “take a second

look before ultimately I rule and if I feel I cannot make an effective ruling or

determination without oral argument, I will contact the parties to set one”).

      The next day, the district court granted the Expansion Motion, concluding

that the related entities and properties identified by the receiver contained

commingled investor funds that could be the subject of disgorgement and therefore

should be brought into the receivership. D. Ct. Dkt. 436 at 2, 5; AIV at 21, 24.

The court “d[id] not take this decision lightly,” but found that given “the

Receiver’s findings—as well as Defendants’ overall conduct to date,” “the existing

asset freeze will [not] sufficiently safeguard the property at issue . . . , thereby

necessitating the requested expansion.” D. Ct. Dkt. 436 at 2–3; AIV at 21–22.




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      Notably, the concerns regarding dissipation of assets underlying the

Expansion Order would prove to be well-founded. As later became clear,

McElhone had already transferred one of the properties, which was included in the

Expansion Motion because it had been purchased with commingled funds, to

another company in which she had an ownership interest. D. Ct. Dkt. 482. The

transfer occurred shortly after the receiver had asked McElhone to agree to the

filing of lis pendens to preserve the asset, and despite defendants’ representations

to the court that none of the relevant properties had been sold. D. Ct. Dkt. 482 at

11–14; D. Ct. Dkt. 367 at 3.

             2. The Final Judgment

      In November 2021, the parties stipulated to, and the court entered, consent

judgments against McElhone and LaForte, in which both consented to entry of

judgment on liability as well as a permanent injunction and other relief. D. Ct.

Dkt. 1008, 1010; AV at 168, 176. The consent judgments provided for additional

proceedings at which the court would determine any monetary remedies, and

McElhone and LaForte agreed that, for the purpose of those proceedings, the court

would accept as true the allegations in the Amended Complaint. Id.

      Consistent with the consent judgments, the Commission subsequently

moved for final judgment against McElhone and LaForte, seeking: (1)

approximately $226.5 million in disgorgement, reflecting the amount Par Funding


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raised from investors minus the amounts paid out to investors and Agent Funds

(i.e., the net total Par Funding received from the unregistered offerings), based on

the receiver’s sworn declaration and a multi-year expert analysis of Par Funding’s

financial records, along with certain deductions; (2) approximately $11 million in

prejudgment interest; and (3) $50 million from each defendant in civil penalties.

D. Ct. Dkt. 1252 at 1; AVI at 32. McElhone and LaForte argued instead for

disgorgement of approximately $49 million, disputing the SEC’s calculation of the

offering proceeds and seeking myriad deductions. D. Ct. Dkt. 1329 at 13–26; AVI

at 116–29. They also proposed civil penalties of approximately $5 million, or 10-

15% of their requested disgorgement. D. Ct. Dkt. 1329 at 47; AVI at 150.

      The district court held an evidentiary hearing on September 14, 2022, at

which it heard from all parties and the receiver. D. Ct. Dkt. 1419; AVIII at 8.

During the hearing, the court expressed some frustration with the SEC’s briefing

and pressed the SEC to clarify and identify the support for its positions,

emphasizing that it would order remedies only when assured that doing so was

equitable and grounded in the record. Id. After the hearing, on October 25, 2022,

the court issued a comprehensive decision that closely scrutinized the parties’




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evidence and arguments and that generally imposed relief in amounts less than the

SEC’s proposals but greater than defendants’. D. Ct. Dkt. 1432; AVIII at 160.11

      After reviewing the applicable legal standards, the district court first found

that disgorgement was warranted for each defendant, observing that defendants

“violated the securities laws numerous times over several years, and the SEC is

entitled to disgorgement of their ill-gotten gains[,] . . . [which] will be distributed

to the victim investors by the Receiver at a later time.” D. Ct. Dkt. 1450 at 13;

AIX at 21. With respect to McElhone and LaForte, the court found that the SEC’s

calculation of the net offering proceeds satisfied its burden to provide a reasonable

approximation of the couple’s ill-gotten gains. In particular, the court rejected

McElhone and LaForte’s bid to use a lower figure from the receiver’s latest

quarterly status report rather than that provided by the SEC. As the court

explained, the SEC’s calculation was derived from an “intensive and multi-year

analysis of Par Funding’s QuickBooks records” that had been subject to expert

review by both parties, whereas defendants’ figures came from “unsworn analysis”

that “did not undergo nearly the same level of scrutiny” and that “contradict[ed]

the QuickBooks figures that both the SEC and Defendants’ expert reports relied

on.” D. Ct. Dkt. 1450 at 15–16; AIX at 23–24. The court also declined McElhone


11
  The court later issued an amended order that corrected an error in tabulating
McElhone and LaForte’s disgorgement but was otherwise unchanged. D. Ct. Dkt.
1449, 1450; AVIII at 228, AIX at 8.
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and LaForte’s request to deduct amounts disgorged by other defendants because

those amounts had already been excluded from the SEC’s calculation. D. Ct. Dkt.

1450 at 17–18; AIX at 25–26. It did, however, grant their request for tens of

millions in deductions for consulting fees, business expenses, and taxes over the

SEC’s objection, ultimately reducing their disgorgement obligation to

approximately $142 million. D. Ct. Dkt. 1450 at 19–26; AIX at 27–34.

      The district court next considered what civil penalties were suitable.

Rejecting appellants’ argument for, at most, second-tier penalties, the court pointed

to the significant risk of substantial losses to investors created by the “litany of

serious misrepresentations” made by defendants in finding third-tier penalties

appropriate. D. Ct. Dkt. 1450 at 34–35; AIX at 42–43 (stating that defendants

“made multiple serious misrepresentations to investors—notably, misleading

investors as to Par Funding’s actual default rate, concealing Par Funding’s sordid

regulatory history, and concealing LaForte’s criminal history—and have left

hundreds of millions of investor returns unpaid”). It found the couple’s conduct

egregious, noting that “[a]t every turn, LaForte and McElhone (the ultimate

decisionmaker at Par Funding) materially misled investors” and “withheld or lied

about critical information that investors rely on in making investment decisions.”

D. Ct. Dkt. 1450 at 38; AIX at 46 (“Without question, the frequency and severity

of their misrepresentations and omissions warrant significant penalties.”). The


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court also found the record “replete” with “examples of a deliberate intent to

deceive the investing public” on the part of McElhone and LaForte and noted that

the violations were recurrent “over the life of the company.” D. Ct. Dkt. 1450 at

37–39; AIX at 45–47.

      In light of these and other findings, the court determined that “significant

penalties” were appropriate. D. Ct. Dkt. 1450 at 38; AIX at 46. It nevertheless

declined to impose the $50 million sanction requested by the SEC or to assess

penalties for each of the potentially thousands of violations in the case. Instead,

citing the impossibility of identifying the exact number of violations at issue, the

court chose to multiply the maximum statutory penalty by the number of

outstanding unpaid Par Funding promissory notes. D. Ct. Dkt. 1450 at 41–42; AIX

at 49–50. This approach grounded the penalty in the facts of the case while

“equitably captur[ing] the nature and scope of McElhone and LaForte’s

wrongdoing.” D. Ct. Dkt. 1450 at 41; AIX at 49. As a result, the court assessed a

penalty of $21.85 million against each defendant, which it decided to impose

jointly and severally. D. Ct. Dkt. 1450 at 42; AIX at 50.

      McElhone and LaForte now appeal from the Expansion Order and the Final

Judgment.12 Dkt. 1, 2.


12
  On April 28, 2023, this Court dismissed McElhone and LaForte’s challenge to a
July 1, 2022 order issued by the magistrate judge and dismissed the appeal insofar
as McElhone and LaForte purported to appeal on behalf of the Trust. Dkt. 27.
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                            STANDARD OF REVIEW

      A “district court has broad powers and wide discretion to determine relief in

an equity receivership.” SEC v. Elliot, 953 F.2d 1560, 1566 (11th Cir. 1992). The

constitutional sufficiency of a lower court’s procedures is reviewed de novo.

Crawford & Co. v. Apfel, 235 F.3d 1298, 1302 (11th Cir. 2000).

      The district court’s imposition of remedies is reviewed for an abuse of

discretion. See SEC v. Calvo, 378 F.3d 1211, 1216–17 (11th Cir. 2004) (per

curiam). “The abuse of discretion standard gives a district court a range of choice,

so long as that choice does not constitute a clear error of judgment.” SEC v.

Merch. Cap., LLC, 486 F. App’x 93, 95 (11th Cir. 2012) (per curiam).

                          SUMMARY OF ARGUMENT

      1. Appellants’ due process challenge to the Expansion Order should be

dismissed, as the Court lacks jurisdiction to review that interlocutory order. If the

Court nonetheless reaches the merits, the challenge should be rejected because the

proceedings afforded appellants sufficient information and opportunity to be heard

before the Expansion Order—which sought to preserve the status quo and forestall

dissipation of assets—was issued.

      2. The district court reasonably exercised its discretion in calculating

appellants’ disgorgement. As the court found, the SEC provided a reasonable

approximation of appellants’ ill-gotten gains by establishing the net total Par


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Funding received from its unlawful offerings. The court’s considered decision to

rely on the SEC’s tabulation of that amount, presented in a sworn declaration

reflecting a longstanding analysis of the company’s records—rather than on a new

and untested figure preferred by appellants—was well within its discretion. And

its decision not to deduct certain payments by others, on the ground that those

sums had already been omitted from the SEC’s calculation, was likewise supported

by the record.

      3. The district court also acted within its discretion in imposing third-tier

penalties against McElhone and LaForte in the amount of $21.85 million.

Although appellants seek to minimize their conduct and criticize the court’s

methodology, the court properly assessed a number of factors, including the nature

and scope of appellants’ wrongdoing, their scienter, and the risk of substantial loss

they created, before fashioning a penalty that reflected their significant misconduct

and the facts of the case. Clarification or a limited remand with instructions to

ensure the Final Judgment holds appellants individually liable for their civil

penalties is appropriate, however.

      4. Finally, reassignment of the case to another judge on any remand is not

warranted. Appellants have not shown that the case cannot be fairly resolved by

the district court or that the appearance of justice has been imperiled, and




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reassignment of this complex action at this late stage would entail waste and

duplication.

                                   ARGUMENT

I.    This Court lacks jurisdiction to review appellants’ challenge to the
      Expansion Order; alternatively, it fails on the merits.

      The Expansion Order does not finally determine the disposition of any assets

or require LaForte or McElhone to pay out any money or property. It merely

expands the receivership to include assets that appear to contain or to have been

purchased with commingled investor funds, preventing the dissipation of those

assets pending their final disposition. As such, this Court lacks jurisdiction over

appellants’ appeal of the Expansion Order, which should instead await the

conclusion of the receivership. But if the Court exercises jurisdiction, appellants’

due process challenge to the order should be rejected on the merits because

appellants were provided access to relevant information and opportunities to be

heard prior to the Expansion Order’s issuance. Particularly in light of the

Expansion Order’s provisional nature, no further process was required.

      A.       The Court lacks jurisdiction over the Expansion Order.

      As an initial matter, this Court should not reach appellants’ challenge to the

Expansion Order. As set forth in the Commission’s response to the Court’s

Jurisdictional Question, the Court lacks jurisdiction over this appeal because the

Expansion Order is interlocutory and did not “produce” the Final Judgment. See,
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e.g., Akin v. PAFEC Ltd., 991 F.2d 1550, 1563 (11th Cir. 1993) (explaining that

the “Court has jurisdiction to review a district court’s non-final orders only when

those orders merge into a final judgment of the district court” and lacks jurisdiction

when the rulings “played no role in the entry of the final judgment” and cannot “be

characterized as having ‘produced’ the judgment”). Rather, the Expansion Order is

more appropriately appealed when there is a final order in the receivership

providing for the distribution of assets. See Dkt. 24.

      B.     Alternatively, the challenge fails on the merits because appellants
             received due process.

      In any event, appellants’ challenge fails on the merits because appellants

received sufficient process in connection with the Expansion Motion. Due process

essentially requires notice, an opportunity to be heard, and that the procedures be

fair. See Elliott, 953 F.2d at 1566; see also SEC v. Torchia, 922 F.3d 1307, 1319

(11th Cir. 2019) (calling for “necessary information, a meaningful opportunity to

argue the facts and their claims and defenses, and an adjudication of their claims

and defenses”). The appropriate process varies according to the nature of the right

and the type of proceeding, and courts must weigh the strength of the private

interest, the risk of erroneous deprivation, the probable value of additional or

substitute safeguards, and the government interest, “including the function

involved and the fiscal and administrative burdens that the additional or substitute

procedural requisites would entail.” Elliot, 953 F.2d at 1566 (internal quotation
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marks omitted). Summary proceedings are particularly appropriate in the

receivership context, as they help to “reduce[] the time necessary to settle disputes,

decrease[] litigation costs, and prevent[] further dissipation of receivership assets.”

Id. Ultimately, the Court “must look at the actual substance, not the name or form,

of the procedure [used] to see if the claimants’ interests were adequately

safeguarded . . . [and] appellants must show how they were prejudiced by the

summary proceedings.” Id. at 1567.

      Appellants here claim that they were deprived of due process in connection

with the Expansion Order, but the record demonstrates that they received relevant

information and opportunities to be heard. In light of both the substantial interest

in preserving the status quo and minimizing costs in order to maximize the funds

available to return to injured investors, and the limited deprivation suffered by

appellants (namely, temporary loss of control over assets linked to commingled

investor funds while their ultimate disposition is determined), the court afforded

appellants sufficient process.

             1. Appellants received necessary information.

      LaForte and McElhone claim that by granting the Expansion Order “without

permitting discovery,” the district court denied them “a meaningful opportunity to

defend their property rights.” LaForte Br. at 7; see also id. at 3–4 (claiming that

“[d]uring six subsequent months of intense litigation [after the Commission filed


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the Complaint], the Receiver successfully resisted Appellants’ repeated demands

for access to the business and financial records necessary for their defense”). But

they had access to relevant evidence before the Expansion Order was issued.

      To support the Expansion Motion, the receiver relied largely on declarations

from Davis and Andjich, the Summary Chart, and the underlying property-related

evidence to show that investor funds had been used to purchase the properties at

issue. D. Ct. Dkt. 357, Exs. F, G, J, L; AIII at 153, 159, 171, 188. Based on this

evidence, the district court reasonably concluded that the properties had been

purchased with “tainted funds” and could therefore be subject to disgorgement,

rendering expansion of the receivership appropriate. D. Ct. Dkt. 436 at 2; AIV at

21. As noted, these materials were made available to defendants in advance of the

motion. The Commission also made its entire investigative file (including bank

records demonstrating the relevant use of commingled investor funds) available to

all parties. See supra. Appellants accordingly had access to the information that

formed the basis for the Expansion Order. Cf. Torchia, 922 F.3d at 1318

(concluding that investors were not provided sufficient process where the receiver

“never provided . . . any evidence whatsoever” of the payments made, nor did he

“set out the methodology” for his calculations).

      Appellants claim that they could not “directly refute the Receiver’s

allegations of commingling because . . . the Receiver had not yet permitted them


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access to ‘Par Funding’s books and records,’” LaForte Br. at 11–12, but they made

no effort to refute the receiver’s allegation of commingling using the records and

declarations relied on by the receiver and ultimately the court. For example, they

entirely failed to address the Andjich Declaration and Summary Chart, which

summarized the purchase of properties by McElhone, the Trust, and the related

entities after each had received commingled investor funds from Par Funding. And

though they dismiss the import of the first two Davis Declarations, Davis described

appellants’ receipt and commingling of $492 million of “Investors and Agent

funds” in Par Funding accounts, followed by a series of transfers to McElhone, the

Trust, and a number of related entities from “Par Funding accounts containing

commingled Investor Funds.” D. Ct. Dkt. 21-1 ¶¶ 6–20; 89-1 ¶¶ 4–10; 290-8 ¶¶ 5,

7–24.

        Moreover, appellants fail to acknowledge that they were initially responsible

for the very records of which they claim ignorance, as they had controlled Par

Funding’s books and records and directed the flow of its funds.13 Yet despite this

fact—and despite now having had several years of access to, and expert review of,

the Par Funding books and data—they make broad complaints about lack of


13
  They also fail to explain why the receiver had initially “resisted” providing them
renewed access to Par Funding’s books and records—namely, the parties’ inability
to agree on a protective order and to resolve a dispute concerning defendants’
unauthorized retention and use of the company’s records. See D. Ct. Dkt. 445 at
42–44; AIV at 67–69; see also, e.g., D. Ct. Dkt. 464.
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discovery, offering little to show how specific records would have refuted all the

receiver’s claims or altered the district court’s decision. See LaForte Br. at 12 n.3

(including one footnote stating only that defendants’ expert concluded “consulting

fees were not paid with Investor funds”). Appellants accordingly were not

deprived of essential information concerning the Expansion Motion.

             2. Appellants were heard concerning the Expansion Motion.

      Before issuing its decision, the district court considered appellants’ 23-page

opposition, which they submitted after obtaining additional time to review and

brief the issue, along with written submissions by all other parties and one non-

party entity. See D. Ct. Dkt. 367, 376, 399, 401, 414. Notably, appellants’

opposition did not meaningfully contest the receiver’s evidence regarding the flow

of funds, nor did it highlight the discovery issues they now assert. It focused

instead on whether the assets in question were properly subject to disgorgement.

But the district court did not need to determine the nature and scope of any assets

to be disgorged to resolve the preliminary issue at the heart of the Expansion

Motion—namely, whether to preserve the status quo by preventing dissipation of

assets that appeared to have been obtained with commingled investor funds.

      In addition, although the district court did not hold a separate hearing on the

Expansion Motion, the parties were given an opportunity to address it orally at the

December 15 status conference. D. Ct. Dkt. 445 at 97–100; AIV at 122–25. The


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court heard from counsel regarding the Expansion Motion and their due process

concerns before observing that the issue had been subject to “very thorough

briefing” and could be decided fairly and promptly. D. Ct. Dkt. 445 at 101; AIV at

126; see also id. (“I don’t think that anyone could make a lack of due process

argument in that the Court is going to review all the pleadings, we have allowed

this to be fully briefed before the Court even considers it. . . . So, to me, I should be

able to rule on the papers and part and parcel is to your exact point, I’m trying to

keep the train moving, making it fair and not spending too much more time and

money when the pleadings are very thorough.”). The court emphasized that it

would “take a second look” to ensure it could “make an effective ruling or

determination without oral argument” and would “entertain oral argument if I think

it is necessary.” D. Ct. Dkt. 445 at 101–02; AIV at 126–27; see also D. Ct. Dkt.

445 at 107; AIV at 132 (promising to “get down to brass tacks, take a look at the

expansion motion for the third or fourth time” and “debate over whether [to] set an

oral argument” before issuing “an order one way or the other”). But after

considering hundreds of pages of briefing and its colloquy with the parties, the

court found no further argument was necessary before issuing its ruling.

      Appellants argue that they were entitled to an “evidentiary hearing,” but a

hearing—let alone a full-blown evidentiary hearing—is not always required in

summary proceedings, and appellants fail to explain, even with the benefit of years


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of additional proceedings, how a separate hearing would have changed the mix of

information before the district court. Elliott, 953 F.2d at 1566. Appellants also

complain that defense counsel was muted at certain points during that conference.

See, e.g., LaForte Br. at 15. But that is a red herring. While the district judge

muted defense counsel during the course of a discussion of ongoing discovery

disputes between defendants and the receiver after several interruptions by defense

counsel, he heard from defense counsel later in the hearing. D. Ct. Dkt. 445 at 57–

58, 60–62; AIV at 82–83, 85–87.

      Finally, appellants argue that “the District Court’s refusal to permit a

response to the Sharp report unfairly prejudiced Appellants’ opposition to the

Expansion Motion,” LaForte Br. at 29, but this argument also lacks merit. The

Sharp Declaration was not filed in connection with the Expansion Motion, not

cited by the receiver in urging expansion, and, importantly, not relied on by the

district court in its order. Instead, the Expansion Order was based on the district

court’s review of written submissions by all parties and the evidence attached to

the motion, available to all parties, that established defendants’ misuse of

commingled investor funds. Moreover, while the Sharp Declaration offered

Sharp’s provisional finding that Par Funding “would not have been able to

continue to provide payments to investors, or to continue to operate, without

additional funds from investors,” D. Ct. Dkt. 426-1 ¶ 53; AIII at 259 ¶ 53, that


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finding was merely preliminary. And while it was potentially relevant to the

Commission’s claims and certain issues in the pending litigation, it was not

involved in the court’s decision to expand the receivership.

             3. The process provided was appropriate to the circumstances.

      In evaluating the Expansion Motion and the process concerning it, the

district court weighed a number of different factors, including the evidence of

diverted commingled investor funds, the burdens that an expanded receivership

would entail, the adequacy of other measures, the value of saving time and

expense, the protection of harmed investors, and the need to act quickly to prevent

dissipation of assets. See D. Ct. Dkt. 436 at 2–3, AIV at 21–22; D. Ct. Dkt. 445 at

78–86, 101–02, AIV at 103–11, 126–27; see also D. Ct. Dkt. 482 at 12–14

(describing undisclosed transactions used to transfer property subject to the

Expansion Motion). The court made clear that it did not “take this decision

lightly.” D. Ct. Dkt. 436 at 2; AIV at 21. But balancing the substantial interest in

preserving the status quo and in maximizing the funds available to return to injured

investors against defendants’ limited deprivation—provisional loss of control over

assets linked to commingled investor funds pending subsequent determination as to

ownership of those assets—and in light of the briefing and input from the parties,

the court reasonably determined that expansion of the receivership was necessary

at that time to protect receivership assets from potential dissipation. The level of


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process it afforded was appropriate to those circumstances. Appellants’ challenge

to the Expansion Order should therefore be rejected.

II.   The disgorgement order should be affirmed.

      In determining McElhone and LaForte’s disgorgement obligation, the

district court engaged in a thorough analysis informed by the allegations in the

Amended Complaint, the receiver’s sworn declaration, and expert analysis of Par

Funding’s books and records. It closely scrutinized the Commission’s proposal,

the defendants’ arguments, and the evidentiary record before performing its own

independent review of the facts and law. Ultimately, the district court employed

the SEC’s baseline disgorgement figure, incorporated about $80 million in

deductions requested by appellants over the SEC’s objection, and ordered

disgorgement in an amount greater than defendants proposed but less than the SEC

sought.

      McElhone and LaForte take issue with the district court’s calculation,

arguing that it should have used a different starting figure and that it erred in

rejecting one of their proposed deductions. Both determinations, however, were

well considered, supported by the record, and within the court’s discretion.

Appellants’ challenges to the disgorgement order accordingly fail.




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      A.     The district court reasonably accepted the SEC’s approximation
             of ill-gotten gains.

      “The SEC is entitled to disgorgement upon producing a reasonable

approximation of a defendant’s ill-gotten gains. The burden then shifts to the

defendant to demonstrate that the SEC’s estimate is not a reasonable

approximation.” SEC v. Calvo, 378 F.3d 1211, 1217 (11th Cir. 2004) (per curiam).

“Exactitude is not a requirement; so long as the measure of disgorgement is

reasonable, any risk of uncertainty should fall on the wrongdoer whose illegal

conduct created that uncertainty.” Id. (cleaned up). This Court reviews the district

court’s findings concerning the amount of disgorgement and the reasonableness of

the SEC’s approximation for abuse of discretion. Id. at 1217–18; see also, e.g.,

SEC v. Monterosso, 557 F. App’x 917, 928 (11th Cir. 2014) (per curiam).

      Here, the district court reasonably found that the SEC satisfied its burden to

approximate appellants’ ill-gotten gains by establishing the net proceeds of the

unregistered offerings. McElhone and LaForte jointly controlled Par Funding and

the unlawful offerings on which Par Funding relied to fund its “merchant cash

advance” business. See, e.g., D. Ct. Dkt. 119 at 2–3, 5–7, 14, 54–55; AIII at 10–

11, 13–15, 22, 62–63; see also D. Ct. Dkt. 1002, 1003 (allegations of complaint

must be accepted as true for remedies determination). They were also responsible

for the fraudulent scheme that pervaded the offerings. See D. Ct. Dkt. 119 at 2–5,

14–15, 29–43; AIII at 10–13, 22–23, 37–51 (alleging that defendants induced
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investment in unregistered offerings through misrepresentations and omissions

concerning, inter alia, Par Funding’s underwriting processes, default rate,

leadership, regulatory history, and use of funds). And they refused to provide

sworn accountings or respond to discovery concerning their personal receipt of

funds, impeding any other measure of their unjust enrichment. D. Ct. Dkt. 1450 at

13 n.4; AIX at 21 n.4. Under these circumstances, it was well within the district

court’s discretion to order McElhone and LaForte to disgorge the net proceeds of

the unregistered offerings. See, e.g., Calvo, 378 F.3d at 1217–18 (affirming

disgorgement award of proceeds received by company for illegal sales of

unregistered securities); SEC v. Arias, No. 12-cv-2937, 2021 WL 7908041, at *5

(E.D.N.Y. Nov. 11, 2021) (collecting cases calculating disgorgement by

“subtracting the amount returned to investors . . . from the total amount raised

through the fraudulent offerings”), report and recommendation adopted, No. 12-

cv-2937, 2023 WL 1861641 (E.D.N.Y. Feb. 9, 2023); SEC v. Voight, No. H-15-

2218, 2021 WL 5181062, at *10 (S.D. Tex. June 28, 2021) (“Because all of the

promissory note offerings described in the Complaint were unlawful, all of the

profits of those offerings are subject to disgorgement.”), aff’d, No. 21-20511, 2023

WL 1778178 (5th Cir. Feb. 6, 2023) (per curiam); cf. SEC v. Huff, 455 F. App’x

882, 884 (11th Cir. 2012) (per curiam) (“[W]here the record shows the fraud to

have been pervasive, we cannot say it was an abuse of the district court’s broad


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discretion to order that the profits associated with the fraudulent scheme be

disgorged.” (internal quotation marks omitted)).

      Appellants dispute the court’s “decision to use the SEC’s Net-Raise

calculation as the baseline for Appellants’ disgorgement,” arguing that the amount

was not “causally connected” to their wrongful conduct and that the court’s “focus

was solely on the amount needed to make Par’s investors whole, rather than on ill-

gotten gains.” McElhone Br. at 29–31. But the offering proceeds were the direct

result of appellants’ Section 5 violations, to which they consented, and, as

explained above, represented a reasonable approximation of their unjust

enrichment. Appellants, moreover, did not meaningfully contest the nature of this

baseline before the district court, instead focusing on the calculation of the amount

and their various requested deductions. D. Ct. Dkt. 1329 at 13–26; AVI at 116–29.

And, contrary to their assertions, the court did not confuse restitution and

disgorgement, but rather focused on the standards for disgorgement and the need to

“restrict disgorgement awards to ‘net profits from wrongdoing.’” D. Ct. Dkt. 1450

at 9; AIX at 17 (quoting Liu v. SEC, 140 S. Ct. 1936, 1946 (2020)); see D. Ct. Dkt.

1450 at 19–26; AIX at 27–34 (granting appellants’ requests for over $80 million in

deductions for expenses, fees, and taxes in effort to limit award to wrongful gains).

      Taking the net offering proceeds as a reasonable approximation of

appellants’ ill-gotten gains, the court then reasonably adopted the SEC’s


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calculation of that amount. The SEC’s calculation, the court explained, derived

“from an in-depth analysis of Par Funding’s QuickBooks records memorialized in

the sworn declaration of the Receiver . . . and the SEC’s expert report.” D. Ct.

Dkt. 1450 at 15; AIX at 23. As the product of forensic review and reconciliation

of company records to which “[b]oth parties had access . . . for nearly two years”

and based on which “both parties produced expert reports,” the SEC’s figure

offered a substantiated accounting of the net proceeds and thus a reasonable

approximation of appellants’ ill-gotten gains. D. Ct. Dkt. 1450 at 16; AIX at 24.

      Appellants maintain that the district court should have used a slightly lower

tabulation of the offerings’ net proceeds, one found in a quarterly status report filed

by the receiver shortly after the Commission moved for remedies. See McElhone

Br. at 31 (arguing for a calculation of $246,400,000 instead of $250,217,479). The

court, however, reasonably rejected that argument after careful consideration. As

it explained, while the status report “might have been produced later in time,” it

was unsworn, untested, “did not undergo nearly the same level of scrutiny” as the

SEC’s report, and “contradict[ed] the QuickBooks figures that both the SEC and

Defendants” had relied on throughout the case. D. Ct. Dkt. 1450 at 16; AIX at 24;

see also D. Ct. Dkt. 1419 at 17–18; AVIII at 25–26 (explaining that the quarterly

status report reflected variances that did not appear in the company’s QuickBooks

and were not properly recorded by prior management); D. Ct. Dkt. 1419 at 25, 28;


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AVIII at 33, 36 (noting that, based on the QuickBooks, “the numbers were not in

dispute about how much was raised and how much was returned”). Contrary to

appellants’ contentions, the court thus could not conclude that the report’s

calculation was “more reliable” or accurate than that provided by the SEC. At

best, it observed, the report raised a possibility that the SEC’s calculation was

imperfect—a risk insufficient to warrant discarding that calculation, particularly

given that the risk stemmed from appellants’ poor recordkeeping. See, e.g., SEC v.

Merch. Cap. LLC, 486 F. App’x 93, 96 (11th Cir. 2012) (per curiam) (“As long as

the SEC’s estimate is reasonable, any risk of error falls on the wrongdoer whose

illegal conduct created the uncertainty.”); SEC v. Lauer, 478 F. App’x 550, 557

(11th Cir. 2012) (per curiam) (defendant “bore the risk of any remaining

uncertainty being construed against him” where the “financial records were lacking

essential information”). Under these circumstances, the district court acted within

its discretion in resolving this evidentiary dispute by employing the SEC’s figure.

      Appellants try to make hay out of the court’s comments at the remedies

hearing, implying that some of the court’s inquiries and concerns somehow

undermine its written opinion. See McElhone Br. at 21–22, 33–34. But review of

the court’s dialogue with the parties affords more, rather than less, confidence in its

decision. Namely, the hearing transcript makes clear that the court was keenly

aware of its “independent obligation” to closely scrutinize the record and impose a


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disgorgement award only where equitable and grounded in evidence. D. Ct. Dkt.

1419 at 45; AVIII at 53; see also, e.g., D. Ct. Dkt. 1419 at 42; AVIII at 50 (“[I]t

would just be a complete abdication of my responsibility under the case law to just

look at what the SEC’s given to me in a declaration and rubber stamp it.”); D. Ct.

Dkt. 1419 at 111; AVIII at 119 (“I don’t award a government agency millions of

dollars . . . unless I feel certain that I got record evidence to back it up.”). And

through the court’s colloquies at the hearing, it received the additional

clarifications or citations that it needed to issue a disgorgement order consistent

with those obligations. See, e.g., D. Ct. Dkt. 1419 at 46–47; AVIII at 54–55

(“Today . . . I am hearing where you are drawing these numbers from. And, yes, I

would agree that there is support for them.”); D. Ct. Dkt. 1419 at 97; AVIII at 105

(“There’s just a lot more here that fills in a lot of blanks that I was struggling

with.”); D. Ct. Dkt. 1419 at 105; AVIII at 113 (“So the Court has gone through all

of my questions, certainly has been provided with a lot of what I would deem to be

new information, albeit information that existed in the record . . . . [W]here I found

myself necessitating additional information . . . a lot of the questions today have

facilitated that.”); see also D. Ct. Dkt. 1419 at 115, 117, 128 –29; AVIII at 123,

125, 136–37 (explaining that the court would review the transcript to ensure it

resolved his concerns and only then issue an appropriate order). The hearing




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transcript thus confirms the thoroughness and thoughtfulness of the court’s

decision.

      Appellants also attempt to shoehorn their dispute with a discovery ruling

into their challenge to the disgorgement order, arguing that the magistrate judge’s

denial of late-sought discovery concerning the quarterly status report impeded their

efforts to “prove that the SEC’s figure is inaccurate.” McElhone Br. at 36. But, as

this Court has ruled, that discovery dispute has not been preserved for review, as

appellants failed to object to the magistrate judge’s decision below. Dkt. 27. In

any event, as the magistrate judge found in denying the discovery sought as not

proportional to the needs of the case, appellants already had the records underlying

the quarterly status report and were free to present any arguments and analysis to

the district court based on those records. D. Ct. Dkt. 1313 at 11, 17, 19–20.

Appellants’ dissatisfaction with the magistrate judge’s ruling thus in no way

diminishes the reasonableness of the district court’s decision.

      B.     The district court properly declined to deduct sums already
             omitted from the disgorgement calculation.

      Finally, McElhone and LaForte contend that the district court erred in

declining to deduct certain disgorgement awards entered against other defendants

and non-parties who operated Agent Funds. McElhone Br. at 37. They are

incorrect. As the district court explained, any disgorgement the SEC sought or

obtained from those sources was “based on their [own] net profits—the difference
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between the payments Par Funding made to the Agent Funds and the amount the

Agent Funds disbursed to their investors—” and thus did not factor into McElhone

and LaForte’s disgorgement obligation. D. Ct. Dkt. 1450 at 17; AIX at 25.14

While Par Funding’s payments to the Agent Funds were relevant to McElhone and

LaForte’s disgorgement, the SEC already “deducted all distributions made [by Par

Funding] to Agent Funds from their initial calculation.” Id.

      Contrary to appellants’ suggestions, that conclusion was adequately

supported by the record. See D. Ct. Dkt. 1214-1 at 2; AV at 233 (receiver’s sworn

declaration summarizing QuickBooks data stating that the amount at issue reflects

the amount the “company repaid to investors, including the ‘Agent Funds’”); see

also D. Ct. Dkt. 1252 at 30, AVI at 61; D. Ct. Dkt. 1341 at 2, 5–6; D. Ct. Dkt. 1419

at 36–39; AVIII at 44–47 (SEC counsel explicating demonstrative exhibit detailing

deductions); D. Ct. Dkt. 1419 at 40; AVIII at 48 (acknowledging that the

information “[wa]s in the record, [though] I needed the SEC to show me where it

is”). And appellants—who, as the magistrate judge noted, have the records



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  That these disgorgement awards were not deducted while disgorgement awards
entered against Cole and Abbonizio were is not arbitrary, as appellants suggest.
McElhone Br. at 37. Rather, it reflects the difference in the nature of the payments
giving rise to the specific disgorgement awards. Cole and Abbonizio were paid
through commissions and consulting fees, rather than by payments to a fund; as a
result, the SEC’s accounting for payments to funds did not cover those defendants’
disgorgement awards. See D. Ct. Dkt. 1450 at 18 n.11, AIX at 26 n.11; D. Ct. Dkt.
1252 at 30, AVI at 61; D. Ct. Dkt. 1341 at 2, 5–6.
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underlying the receiver’s and SEC’s calculation—offer no evidence to the

contrary. See McElhone Br. at 37 (arguing only that the SEC’s briefing was

“lacking”).

       This Court should accordingly affirm the district court’s disgorgement order.

III.   The district court acted within its discretion in imposing $21.85 million
       in penalties against each defendant.

       The district court also did not abuse its discretion in imposing third-tier

penalties against McElhone and LaForte and in setting the amount of those

penalties at $21.85 million for each defendant. As the court found, that significant

sanction properly reflected the significant misconduct at issue: namely, the

couple’s spearheading of an extended fraudulent scheme that used “a litany of

serious misrepresentations” to collect and jeopardize hundreds of millions of

dollars of investor funds. This Court should accordingly reject appellants’

attempts to downplay their violations and to curtail the court’s broad discretion in

fashioning civil penalties. Clarification of the Final Judgment or a limited remand,

however, is appropriate to address the court’s decision to hold appellants jointly

and severally liable for the penalties.

       A.     Third-tier penalties were appropriate.

       “Civil penalties are intended to punish the individual wrongdoer and to deter

him and others from future securities violations.” Monterosso, 557 F. App’x at

929. To obtain such penalties, “the Commission need only make ‘a proper
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showing’ that a violation has occurred and a penalty is warranted.” SEC v.

Warren, 534 F.3d 1368, 1370 (11th Cir. 2008) (per curiam) (quoting 15 U.S.C. §§

77t(d), 78u(d)(3)). Section 20(d) of the Securities Act and Section 21(d)(3) of the

Exchange Act authorize three tiers of monetary penalties for statutory violations:

first-tier penalties for any violation; second-tier penalties for violations that

“involved fraud, deceit, manipulation, or deliberate or reckless disregard of a

regulatory requirement”; and third-tier penalties for violations that satisfy the

second-tier requirements and that “directly or indirectly resulted in substantial

losses or created a significant risk of substantial losses to other persons.” 15

U.S.C. §§ 77t(d)(2), 78u(d)(3)(B). For each violation warranting third-tier

penalties, the court may impose a penalty up to a set amount or the gross amount of

pecuniary gain, whichever is greater. Id.

      The district court properly assessed third-tier penalties against McElhone

and LaForte. As the court found, the couple orchestrated a fraudulent scheme in

which they and others induced investors to participate in unlawful securities

offerings by means of “a litany of serious misrepresentations.” D. Ct. Dkt. 1450 at

34; AIX at 42; see also D. Ct. Dkt. 119 at 2–4; AIII at 10–12. These

misrepresentations and omissions—about Par Funding’s default rate, underwriting

practices, “sordid regulatory history,” leadership (and its criminal history), and its

diversion of funds to insiders—went to the heart of Par Funding’s business and any


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decision to invest in it. D. Ct. Dkt. 1450 at 34–35, 37–38; AIX at 42–43, 45–46.

And they threatened hundreds of millions of dollars of investor funds. See id.

(finding that defendants “made multiple serious misrepresentations to investors” in

service of unregistered securities offerings that “have left hundreds of millions of

investor returns unpaid”). Because McElhone and LaForte “materially misled

investors” “[a]t every turn,” “with[holding] or [lying] about critical information

that investors rely on in making investment decisions[ and] placing the money of

the investing public at risk,” their misconduct warranted third-tier penalties. D. Ct.

Dkt. 1450 at 38; AIX at 46.

      Appellants insist that “the [c]ourt had no basis to assess Tier 3 penalties,”

disputing that McElhone committed any fraud whatsoever and that their

misconduct created a significant risk of substantial losses. McElhone Br. at 44.

Both contentions lack merit. McElhone accepted liability for committing fraud in

violation of Section 17 of the Securities Act, Section 10(b) of the Exchange Act,

and Rule 10b-5, and the Amended Complaint—which McElhone agreed to accept

as true—alleges that she committed scienter-based violations of the securities laws

through her roles as co-architect of the fraudulent scheme and as Par Funding’s

CEO and ultimate decisionmaker. Her attempt to disclaim that liability now and

imply that she somehow had no responsibility for any deceit not only runs counter

to her consent judgment, but it beggars belief. To suggest, for instance, that


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McElhone played no part in the deception concerning her husband’s criminal

history—even though he co-founded the company with her shortly after his release

from prison, operated as de facto CEO of the company she claimed to run, and

used a fake name and email within her company to conceal his true identity—is not

credible. Rather, taking the allegations of the complaint as a whole, McElhone’s

involvement in the myriad frauds for which she accepted liability is readily

inferred.

      Appellants’ argument about risk of loss fares no better. As the district court

found, the misrepresentations here concerned core elements of Par Funding’s

operation and profitability, which in turn were fundamental to investors and to the

success of their investment in the company. See D. Ct. Dkt. 1450 at 34–35; AIX at

42–43. “For example, the ‘low’ default rate touted by Defendants was information

investors depended on in deciding whether to invest,” but in fact “Par Funding was

barely breaking even.” D. Ct. Dkt. 1450 at 35; AIX at 43; see, e.g., Monterosso,

557 F. App’x at 929 (affirming that a fraudulent scheme created a substantial risk

of loss where it involved “revenue overstatements [that] would have been

important to any reasonable shareholder”). Though appellants protest that “Par

never missed a payment to investors,” McElhone Br. at 43, this Court has already

rejected the argument that Par Funding’s alleged “profitability [was] . . . sufficient

to disprove a risk of substantial losses.” SEC v. Complete Bus. Sols. Grp., Inc.,


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No. 22-13811, 2023 WL 4196949, at *2 (11th Cir. June 27, 2023) (per curiam)

(emphasis added) (rejecting similar argument from co-defendant); see also, e.g.,

SEC v. Revolutionary Concepts, Inc., No. 21-10984, 2022 WL 386085, at *11

(11th Cir. Feb. 9, 2022) (per curiam) (“[A]ctual loss isn’t required.”). The district

court thus did not abuse its discretion in imposing third-tier penalties against

McElhone and LaForte.

      B.     The district court reasonably assessed $21.85 million in penalties
             against each defendant.

      Having established that third-tier penalties were warranted, the district court

was free to determine the “amount of the penalty . . . in light of the facts and

circumstances.” 15 U.S.C. §§ 77t(d)(2), 78u(d)(3)(B); see, e.g., Monterosso, 557

F. App’x at 929 (“The statutes leave the amount to be imposed to the discretion of

the district judge.”); Warren, 534 F.3d at 1369. To do so, the court carefully

considered a number of factors designed to align the monetary sanction with the

facts of the case. See D. Ct. Dkt. 1450 at 37–40; AIX at 45–48 (assessing (1) the

egregiousness of defendants’ violations, (2) their scienter, (3) the repeated nature

of the violations, (4) any admission of wrongdoing, (5) any risk of substantial loss,

(6) any cooperation with authorities, and (7) any evidence of defendants’ financial

condition); D. Ct. Dkt. 1450 at 11–12; AIX at 19–20 (quoting SEC v. Huff, 758 F.

Supp. 2d 1288, 1364 (S.D. Fla. 2010), aff’d, 455 F. App’x 882 (11th Cir. 2012)

(per curiam)). Citing the “frequency and severity” of defendants’ violations, the
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ample evidence of their scienter, and the risk of substantial loss caused by their

misconduct, the court found that “[w]ithout question” “significant penalties” were

warranted. D. Ct. Dkt. 1450 at 37–40; AIX at 45–48 (also weighing appellants’

limited admissions of wrongdoing and giving no weight to the remaining factors).

But it rejected as excessive the Commission’s proposal of a $50 million penalty for

each defendant. Instead, seeking to “ground[] its penalty calculations in the facts

of this case” and to “more equitably capture[] the nature and scope of McElhone

and LaForte’s wrongdoing,” the district court crafted its own penalty by

multiplying the statutory maximum ($190,000) by the number of promissory notes

issued by defendants to investors that remained unpaid (115), ultimately assessing

$21.85 million in penalties for each. D. Ct. Dkt. 1450 at 41–42; AIX at 49–50.

      Appellants challenge the district court’s decision to hold them accountable

for 115 statutory violations based on the unpaid notes. But district courts “enjoy[]

wide discretion in devising civil penalties” and in identifying the number of

violations that will yield an appropriate penalty. SEC v. de Maison, No. 18-2564,

2021 WL 5936385, at *2 (2d Cir. Dec. 16, 2021) (internal quotation marks

omitted). In particular, because the term “violation” is not defined by the statutory

scheme, “[d]istrict courts have discretion to determine what constitutes a

‘violation’ and have relied on various proxies” to produce a fitting result. SEC v.

Murphy, 50 F.4th 832, 848 (9th Cir. 2022) (collecting cases and citing as possible


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proxies, inter alia, the number of victims, the number of fraudulent transactions,

the number of fraudulent schemes, the number of statutes violated, and the number

of months defendants engaged in unlawful activity); see also SEC v. Fowler, 6

F.4th 255, 264–66 (2d Cir.) (emphasizing the district court’s “wide discretion” in

classifying violations to formulate a civil penalty), cert. denied, 142 S. Ct. 590

(2021).

      The court’s thoughtful penalty determination here fell within that broad

ambit, notwithstanding appellants’ complaints. Noting that third-tier violations

“involve[] fraud, deceit, [or] manipulation,” they first criticize the court for not

linking each note and violation to a specific misrepresentation. But the notes

clearly “involved fraud”: they were the centerpiece of appellants’ fraudulent

scheme, one structured to deceive regulators; they were procured by fraud, issued

on the back of misrepresentations to the Commission; and they were promoted and

sold to the investing public by means of a host of misrepresentations and

omissions.

      Moreover, as the Commission noted, the court could have held defendants

responsible for an even greater number of violations based on the myriad examples

of fraudulent conduct available in the Amended Complaint and the record. D. Ct.

Dkt. 1252 at 36–37; AVI at 67–68. It likewise could have imposed a higher

penalty based on their gross pecuniary gain. D. Ct. Dkt. 1252 at 39; AVI at 70.


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And, as the court observed, “the exact number of violations committed by the

Defendants” in their multi-year, multi-fraud scheme “is nearly impossible to

determine.” D. Ct. Dkt. 1450 at 41; AIX at 49 (cleaned up). Under these

circumstances, it was no abuse of discretion for the court to use a proxy to fashion

a smaller penalty that in its view better reflected the scope of the misconduct. See,

e.g., Murphy, 50 F.4th at 848 (affirming decision to base penalty on number of

months defendant acted as an unregistered broker where “the district court could

have found thousands of violations if it had relied on the number of transactions

[the defendant] made as an unregistered broker”); SEC v. Vali Mgmt. Partners, No.

21-453, 2022 WL 2155094, at *3 (2d Cir. June 15, 2022) (affirming lump-sum

penalty in amount less than the Commission sought where the court could have

“count[ed] each transaction or series of transactions as a violation” to “produce a

staggering penalty in light of the millions of transactions at issue” (cleaned up)).

      Appellants’ objection that the penalty amount was “excessive and unduly

punitive,” McElhone Br. at 40, fails for the same reason. As in the cases they cite,

the district court here was in fact authorized to impose a higher sanction but

specifically declined to do so, finding $21.85 million a more “equitable civil

penalty supported by the facts of this case.” D. Ct. Dkt. 1450 at 36; AIX at 44; cf.

Revolutionary Concepts, 2022 WL 386085, at *11 (explaining that a fine is

excessive only “if it is grossly disproportional to the gravity of a defendant’s


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offense” and that “courts should be hesitant to substitute their opinion for that of

[Congress and] the people” as reflected in the statutory maximums (internal

quotation marks omitted)). It is worth noting, moreover, that appellants argued

below that a fair penalty should comprise 10-15% of the disgorgement ordered. D.

Ct. Dkt. 1329 at 47; AVI at 150 (claiming to have surveyed civil penalties and that

second-tier penalties were on average 15% of disgorgement and third-tier penalties

on average 43% of disgorgement). $21.85 million is approximately 15% of the

$142 million the court ordered in disgorgement—hardly excessive even by

appellants’ own metric.15

      Appellants also complain that the court’s penalty calculation was

unanticipated because neither party had proposed it. McElhone Br. at 41. But they

cite no case holding that the court was somehow limited to the options presented

by the parties or foreclosed from constructing its own penalty—nor could they,

given courts’ “wide discretion in devising civil penalties.” de Maison, 2021 WL

5936385, at *2 (internal quotation marks omitted). And, indeed, appellants

themselves are the ones who raised the concept of basing a penalty calculation on

the 115 unpaid notes in their briefing below. D. Ct. Dkt. 1329 at 48; AVI at 151.

In any event, appellants had ample opportunity to present their views to the court



15
  Even appellants’ collective penalty amount represents considerably less than
43% of their joint disgorgement obligation.
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as to the appropriate penalty, how it should be calculated, and the substantive

factors underlying its determination.

      Appellants similarly object that the district court used different methods to

impose different penalties on different defendants. McElhone Br. at 45. Again,

however, they offer nothing to suggest that this was impermissible. Rather, the

court properly curated each penalty determination to reflect the relevant

defendant’s role in the scheme, the scope of his misconduct, and his financial

circumstances. See D. Ct. Dkt. 1450 at 44–45; AIX at 52–53 (explaining that,

“compared to the civil penalties imposed above against McElhone and LaForte,”

Cole’s penalty “accurately captures [his] role in the Par Funding scheme,”

reflecting his “relative culpability” and “the fact that Cole profited far less from the

scheme”); D. Ct. Dkt. 1450 at 46–47; AIX at 54–55 (devising Furman’s penalty in

light of his “limited ability to pay” and “relatively small role” in the scheme).

      Notwithstanding McElhone and LaForte’s efforts on appeal to minimize

their culpability, the court reasonably found that McElhone and LaForte deserved

significantly higher penalties to match their more significant roles as architects and

leaders of the scheme, their persistent misconduct, and their extensive ill-gotten

gains. See D. Ct. Dkt. 1450 at 37–41; AIX at 45–49; see also D. Ct. Dkt. 1252 at

24; AVI at 55 (describing hundreds of millions of dollars received by defendants

and related companies); D. Ct. Dkt. 482 (describing properties purchased with


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commingled investor funds and defendants’ attempts to evade the receivership).

The court accordingly and reasonably fashioned these sanctions for McElhone and

LaForte, while crafting different penalties to suit their co-defendants. Cf.

Monterosso, 557 F. App’x at 930 (rejecting argument that penalty was

disproportionate compared to other defendants where judge “evaluate[d

defendant’s] involvement” and “activities in the fraudulent scheme” and

determined “he had a different role”); VanCook v. SEC, 653 F.3d 130, 144 (2d Cir.

2011) (affirming sanction as not disproportionate to “other players in [the] . . .

scheme” where defendant, “unlike the other individuals, designed the . . . scheme,

marketed it to select customers, and orchestrated its execution”).

      The district court’s imposition of a $21.85 million sanction for each

defendant was thus a reasonable exercise of its discretion and should be upheld.

       C.    Clarification of the Final Judgment or a limited remand
             concerning joint and several liability for the civil penalties is
             appropriate.

      Although the Commission did not seek joint and several liability for

appellants’ civil penalties, the district court’s decision stated that “McElhone and

LaForte are to be held jointly and severally liable for this [penalty] amount.” D.

Ct. Dkt. 1450 at 42; AIX at 50. The Final Judgment itself, however, does not

expressly impose joint and several liability for appellants’ penalties. Compare D.

Ct. Dkt. 1451 at 2; AIX at 60 (ordering that “Defendants are jointly and severally

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liable for disgorgement . . . together with prejudgment interest thereon”), with id.

(“Defendants are also liable for civil penalties in the amount of $21,850,000 each

for a total of $43,700,000 . . . .”).

       As appellants observe, this Court has not yet addressed whether or in what

circumstances civil penalties may be imposed jointly and severally. As other

courts have indicated, however, the relevant civil penalty statutes do not appear to

permit joint and several liability against individuals in the particular circumstances

presented here.16 See SEC v. Pentagon Cap. Mgmt. PLC, 725 F.3d 279, 287–88

(2d Cir. 2013) (reversing the imposition of joint and several liability for civil

penalties as an error of law, because the “statutory language allowing a court to

impose a civil penalty plainly requires that such awards be based on the ‘gross

amount of pecuniary gain to such defendant’” and “does not provide room for the

district court’s interpretation that the civil penalty be imposed jointly and

severally”); cf. SEC v. Husain, 70 F.4th 1173, 1190 (9th Cir. 2023) (Wardlaw, J.,

dissenting); SEC v. Johnson, 43 F.4th 382, 393 (4th Cir. 2022); SEC v. Milan Grp.,

Inc., 595 F. App’x 2, 4 (D.C. Cir. 2015) (per curiam).

       But the court’s decision concerning joint and several liability does not affect

the court’s substantive penalty determination. Its decision to impose $21.85


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  The circumstances here do not involve, for instance, civil penalties imposed
against defendants that are alter egos, where joint and several liability may be
appropriate.
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million in penalties against each defendant is independently justified (see supra)

and stands apart from its indication of joint and several liability, which was

included only at the very conclusion of its opinion and not otherwise discussed. As

a result, this Court should clarify that the Final Judgment, which does not reference

joint and several liability, orders appellants to pay civil penalties individually.

Alternatively, a limited remand instructing the district court not to impose joint and

several liability, without otherwise reopening the penalty determination or Final

Judgment, would be appropriate.

IV.   Reassignment is not necessary.

      Finally, appellants’ request for reassignment on any remand should be

rejected. “Reassignment is a severe remedy, which is only appropriate where the

trial judge has engaged in conduct that gives rise to the appearance of impropriety

or a lack of impartiality in the mind of a reasonable member of the public.” In re

Equifax Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247, 1272 (11th Cir.

2021) (internal quotation marks omitted). “The propriety of doing so is informed

by three factors: ‘(1) whether the original judge would have difficulty putting his

previous views and findings aside; (2) whether reassignment is appropriate to

preserve the appearance of justice; (3) whether reassignment would entail waste

and duplication out of proportion to the gains realized from reassignment.’”

Stargel v. SunTrust Banks, Inc., 791 F.3d 1309, 1311–12 (11th Cir. 2015) (per


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curiam) (quoting Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1373 (11th

Cir. 1997)).

      These factors do not support reassignment here. This Court is generally

reluctant to find that a district judge is unable to put aside his prior views and fairly

adjudicate a dispute. See, e.g., Sovereign Mil. Hospitaller Ord. of Saint John of

Jerusalem of Rhodes & of Malta v. Fla. Priory of the Knights Hospitallers of the

Sovereign Ord. of Saint John of Jerusalem, Knights of Malta, The Ecumenical Ord.

(“SMOM”), 809 F.3d 1171, 1193 (11th Cir. 2015) (rejecting reassignment where

missteps were “more akin to garden-variety errors of law than . . . direct defiance

or stalemated posture” (internal quotation marks omitted)); United States v. Gupta,

572 F.3d 878, 891 (11th Cir. 2009) (“Reassignment is necessary when a district

judge adheres to erroneous views after multiple remands . . . or when a judge

questions the wisdom of the substantive law he has to apply . . . .” (cleaned up)).

Here, by contrast, “the record indicates [the judge] corrects his mistake and

amends his orders when he thinks he reached the wrong result.” In re Equifax, 999

F.3d at 1272; see, e.g., D. Ct. Dkt. 1449; AVIII at 228 (amending judgment to

correct error).

      That the district court has issued prompt decisions, particularly in connection

with motions concerning the receivership and the receiver’s efforts to forestall

dissipation of assets, likewise does not imperil the appearance of justice or compel


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reassignment. LaForte Br. at 37.17 Rather, the court has reasonably sought to

ensure an efficient resolution of the action, to limit litigation costs, and to preserve

and maximize assets to be returned to investors, while affording appellants

sufficient process. Cf. Elliot, 953 F.2d at 1566 (appropriate aims in receivership

proceedings include “reduc[ing] the time necessary to settle disputes, decreas[ing]

litigation costs, and prevent[ing] further dissipation of receivership assets”); see

supra at I.B; see also, e.g., D. Ct. Dkt. 1488 (staying order to provide opportunity

for briefing).

      Finally, reassignment would entail waste and duplication. The district judge

has supervised this complex, multi-defendant case for over three years, during

which time he has presided over an eight-day trial of a co-defendant, engaged in

close oversight of the receivership, and managed the action through nearly 1700

docket entries. Reassignment of the case at this late stage is not warranted. See,

e.g., In re Equifax, 999 F.3d at 1272 (rejecting reassignment in “colossal

multidistrict litigation case with over 1200 docket entries in the District Court over

the course of just a few years”); SMOM, 809 F.3d at 1194 (rejecting reassignment



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  Notably, while appellants criticize the district court for proceeding directly from
the evidentiary hearing to the Final Judgment, they urged the court not to
“prolong[] this case” and instead promptly issue a decision, because “there is
evidence there that should be able to guide you and allow you to finish this out like
we’ve all been working so hard to do.” D. Ct. Dkt. 1419 at 113; AVIII at 121; see
also D. Ct. Dkt. 1419 at 107–08, 111; AVIII at 115-16, 119.
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where judge had “unique familiarity with this complex, fact-intensive case”

(internal quotation marks omitted)); CSX Transp., Inc. v. State Bd. of Equalization,

521 F.3d 1300, 1301 (11th Cir. 2008) (per curiam) (rejecting reassignment where

“judge presided over an eight-day trial that concerned a complicated subject and

drafted a thorough 27-page opinion, a significant portion of which was not

affected”).

                                 CONCLUSION

      For the foregoing reasons, the Court should reject appellants’ challenge to

the Expansion Order, affirm the district court’s imposition of approximately $142

million in disgorgement and $21.85 million each in civil penalties, and clarify that

the Final Judgment imposes civil penalties individually.

                                       Respectfully submitted,

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September 12, 2023



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                      CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the type-volume limitation set forth in

Fed. R. App. P. 27 because it contains 12,329 words, and complies with the

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                         CERTIFICATE OF SERVICE

      I certify that on September 12, 2023, I electronically filed the foregoing with

the Clerk of Court for the United States Court of Appeals for the Eleventh Circuit

by using the Court’s CM/ECF system. Service will be accomplished by the

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